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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC


This document relates to:                      NOTICE OF SETTLEMENT IN
                                               PRINCIPLE AND JOINT REQUEST TO
ALL ACTIONS                                    STAY ACTION TO ALLOW PARTIES
                                               TO SEEK APPROVAL OF THE CLASS
                                               ACTION SETTLEMENT

                                               [CIV. L.R. 6-2, 7-12, AND 16-2(d)]

                                               Judge: Hon. Vince Chhabria
                                               Special Master Daniel Garrie




NOTICE OF SETTLEMENT AND                                                       MDL NO. 2843
JOINT REQUEST TO STAY ACTION                                        CASE NO. 18-MD-02843-VC
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       Pursuant to Civil Local Rules 6-2, 7-12, and 16-2(d), Plaintiffs and Defendant Meta

Platforms, Inc. (collectively, the “Parties”), by and through their undersigned counsel, respectfully

submit this notice that the Parties have reached a settlement in principle of the consolidated action

In re: Facebook, Inc. Consumer Privacy User Profile Litigation, Case No. 3:18-md-02843-VC

(the “Action”).

       Because the Parties have reached an agreement in principle of the Action, and believe it

will facilitate the process of finalizing a written settlement agreement and presenting to the Court

for preliminary approval, the Parties jointly request a stay of the Action for sixty (60) days.

       NOW, THEREFORE, IT IS HEREBY JOINTLY REQUESTED by and between the

Parties, through their respective counsel, that, subject to the Court’s approval and pursuant to Civil

Local Rule 6-2, the Action will be stayed for sixty (60) days to allow the Parties to finalize a

written settlement agreement and present to the Court for preliminary approval of the settlement.


Dated: August 26, 2022                            Respectfully submitted,

KELLER ROHRBACK L.L.P.                            BLEICHMAR FONTI & AULD LLP

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             ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
       I, Lesley E. Weaver, attest that concurrence in the filing of this document has been obtained

from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 26th day of August, 2022, at Oakland, California.

                                                      /s/ Lesley E. Weaver
                                                      Lesley E. Weaver




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                                      [proposed] ORDER

       Upon consideration of the Parties’ Notice of Settlement In Principle and Joint Request to

Stay Action, it is hereby ORDERED that the Parties have sixty (60) days from the date of this

Order, or by no later than _________________, 2022, to finalize and execute a written settlement

agreement and to present to the Court for preliminary approval of the settlement.



PURSUANT TO STIPULATION, IT IS SO ORDERED.



Date: _______________, 2022                  ____________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




NOTICE OF SETTLEMENT AND                        4                                 MDL NO. 2843
JOINT REQUEST TO STAY ACTION                                           CASE NO. 18-MD-02843-VC
